            Case 1:21-cr-00649-VEC Document 40 Filed 09/26/22 Page 1 of 2
                                                                       USDC SDNY
                                                                       DOCUMENT
                                                                       ELECTRONICALLY FILED
                                                                       DOC #:
UNITED STATES DISTRICT COURT
                                                                       DATE FILED: 9/26/2022
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------ X
 UNITED STATES OF AMERICA                                     :
                                                              : 21-CR-649 (VEC)
                 -against-                                    :
                                                              :     ORDER
                                                              :
 MARCUS FRAZIER,                                              :
                                                              :
                                          Defendant.          :
 ------------------------------------------------------------ X

VALERIE CAPRONI, United States District Judge:

       WHEREAS Mr. Frazier was ordered to self-surrender on September 30, 2022, Dkt. 33;

and

       WHEREAS Defendant requests a 90-day extension to allow for Mr. Frazier to recover

from a medical procedure, see Dkt. 39;

       IT IS HEREBY ORDERED that Defendant shall surrender to the USMS in SDNY at

12:00 p.m. on January 6, 2023.



SO ORDERED.

                                                 _________________________________
Date: September 26, 2022                                VALERIE CAPRONI
      New York, NY                                    United States District Judge
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Instructions for Courthouse Entry

All members of the public, including attorneys, appearing at a Southern District of New York
courthouse must complete a questionnaire before being allowed entry into that courthouse.

On the day you are due to arrive at the courthouse, click on the following weblink to begin the
enrollment process. Follow the instructions and fill out the questionnaire. If your answers meet the
requirements for entry, you will be sent a QR code to be used at the SDNY entry device at the
courthouse entrance.

Weblink: https://app.certify.me/SDNYPublic

Note: If you do not have a mobile phone or mobile phone number, you must complete the
questionnaire at an entry device at the courthouse.




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